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FILED IN THE U.S, DISTRICT COURT

Vanessa R. Waldref EASTERN DISTRICT OF WASHINGTON

United States Attorney

Eastern District of Washington JUN 18 2024
Courtney R. Pratten

Todd M. Swensen SEAN F MGAVOY, iin
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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA, Case No.: 1:23-CR-02016-JLR
Plaintiff, Plea Agreement
Vv.
LEO JOHN YALLUP,
Defendant.

Plaintiff United States of America, by and through Vanessa R. Waldref,
United States Attorney the Eastern District of Washington, and Courtney R.
Pratten and Todd M. Swensen, Assistant United States Attorneys for the Eastern
District of Washington, and Defendant (“Defendant”) Leo John Yallup, both
individually and by and through Defendant’s counsel, Nicholas Marchi, agree to
the following Plea Agreement.

1. Guilty Plea and Maximum Statutory Penalties

Defendant agrees to enter a plea of guilty to Count One in the Superseding
Indictment filed on October 11, 2023, which charges Defendant with assault on a
federal officer with a deadly weapon, in violation of 18 U.S.C. § 111(b), a Class C
felony.

Defendant understands that the following potential penalties apply:

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a. a term of imprisonment of not more than 20 years;
b. a three-year term of supervised release;
C. a fine of up to $250,000; and,
d. a $100 special penalty assessment.
2. Supervised Release

Defendant understands that if Defendant violates any condition of
Defendant’s supervised release, the Court may revoke Defendant’s term of
supervised release, and require Defendant to serve in prison all or part of the term
of supervised release authorized by statute for the offense that resulted in such term
of supervised release without credit for time previously served on postrelease
supervision, up to the following terms:

a. 5 years in prison if the offense that resulted in the term of
Supervised Release is a class A felony,
b. 3. years in prison if the offense that resulted in the term of |

Supervised Release is a class B felony, and/or

c. 2 years in prison if the offense that resulted in the term of
Supervised Release is a class C felony.

Accordingly, Defendant understands that if Defendant commits one or more
violations of supervised release, Defendant could serve a total term of
incarceration greater than the maximum sentence authorized by statute for
Defendant’s offense or offenses of conviction.

3. The Court is Not a Party to this Plea Agreement

The Court is not a party to this Plea Agreement and may accept or reject it.
Defendant acknowledges that no promises of any type have been made to
Defendant with respect to the sentence the Court will impose in this matter.

Defendant understands the following:

a. sentencing is a matter solely within the discretion of the Court;

PLEA AGREEMENT - 2

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the Court is under no obligation to accept any recommendations
made by the United States or Defendant;

the Court will obtain an independent report and sentencing
recommendation from the United States Probation Office;

the Court may exercise its discretion to impose any sentence it
deems appropriate, up to the statutory maximum penalties;

the Court is required to consider the applicable range set forth
in the United States Sentencing Guidelines, but may depart
upward or downward under certain circumstances; and

the Court may reject recommendations made by the United
States or Defendant, and that will not be a basis for Defendant
to withdraw from this Plea Agreement or Defendant’s guilty
plea.

Potential Immigration Consequences of Guilty Plea

If Defendant is not a citizen of the United States, Defendant understands the

following:

pleading guilty in this case may have immigration
consequences;

a broad range of federal crimes may result in Defendant’s
removal from the United States, including the offense to which
Defendant is pleading guilty;

removal from the United States and other immigration
consequences are the subject of separate proceedings; and

no one, including Defendant’s attorney or the Court, can predict
with absolute certainty the effect of a federal conviction on

Defendant’s immigration status.

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Defendant affirms that Defendant is knowingly, intelligently, and voluntarily
pleading guilty as set forth in this Plea Agreement, regardless of any immigration
consequences that Defendant’s guilty plea may entail.

5. Waiver of Constitutional Rights

Defendant understands that by entering this guilty plea, Defendant is

knowingly and voluntarily waiving certain constitutional rights, including the

following:
a the right to a jury trial;
b. the right to see, hear and question the witnesses;
c. the right to remain silent at trial;

d. the right to testify at trial; and
e. the right to compel witnesses to testify.

While Defendant is waiving certain constitutional rights, Defendant
understands that Defendant retains the right to be assisted by an attorney through
the sentencing proceedings in this case and any direct appeal of Defendant’s
conviction and sentence, and that an attorney will be appointed at no cost if
Defendant cannot afford to hire an attorney.

Defendant understands and agrees that any defense motions currently
pending before the Court are mooted by this Plea Agreement, and Defendant
expressly waives Defendant’s right to bring any additional pretrial motions.

6. Elements of the Offense

The United States and Defendant agree that to convict Defendant of assault
on a federal officer with a deadly weapon, in violation of 18 U.S.C. § 111(b), the
United States would have to prove the following beyond a reasonable doubt.

a. First, on or about March 2, 2023, the defendant forcibly
assaulted J.G.;

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b. Second, the defendant did so while J.G. was engaged in, or on
account of, his official duties as a federal officer or employee;
and

Cc. Third, the defendant used a deadly or dangerous weapon.

7. Factual Basis and Statement of Facts

The United States and Defendant stipulate and agree to the following: the
facts set forth below are accurate; the United States could prove these facts beyond
a reasonable doubt at trial; and these facts constitute an adequate factual basis for
Defendant’s guilty plea.

The United States and Defendant agree that this statement of facts does not
preclude either party from presenting and arguing, for sentencing purposes,
additional facts that are relevant to the Sentencing Guidelines computation or
sentencing, unless otherwise prohibited in this Plea Agreement.

On or about March 2, 2023, a United States Marshal’s Service (USMS) Task
Force, which included Task Force Officer (TFO) J.G., Deputy United States
Marshal (DUSM) B.L., and DUSM D.B., assembled to effectuate the arrest of
Defendant on an outstanding warrant. The officers received information
Defendant might be at 1161 Donald Wapato Road, in Wapato, Washington, in the
Eastern District of Washington.

After proceeding to 1161 Donald Wapato Road and conducting surveillance,
the officers were able to confirm Defendant was located just outside of the
residence at that address. DUSM D.B. and DUSM B.L., who were together in an
unmarked law enforcement vehicle when they arrived at 1161 Donald Wapato
Road, turned into the driveway. TFO J.G. and TFO S.M., who were together in a
second law enforcement vehicle, pulled into the driveway behind DUSM D.B. and
DUSM B.L. The vehicle TFOs J.G. and S.M. were in had its lights activated when
it turned into the driveway. Additionally, J.G. was wearing clothing identifying

him as a member of law enforcement.

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When Defendant saw law enforcement pull into the driveway of 1161
Donald Wapato Road, he immediately fled behind the residence. DUSMs D.B.
and B.L. exited their vehicle and began to pursue Defendant as he ran to the rear of
the residence. TFO J.G. also exited his vehicle and ran to the back of the residence
in pursuit.

When the officers converged at the back of the residence, they saw
Defendant stumble near the tree line. TFO J.G. saw Defendant slow down and
reach for his waistband. TFO J.G. took cover behind a power pole and drew his
service weapon. Then he saw Defendant draw a firearm with his left hand, look
over his left shoulder, and point the firearm at DUSM B.L. DUSM BLL. ran for
cover and TFO J.G. then saw Defendant point the firearm at TFO J.G. TFO J.G.
proceeded to point his service weapon at Defendant and TFO J.G. and DUSM D.B.
saw Defendant then point his firearm at DUSM D.B.

DUSM D.B. was attempting to get behind cover and transition from his taser
to his service weapon when TFO J.G. fired three shots at Defendant. One of the
shots struck Defendant in the head and Defendant fell to the ground.

The officers contained the situation by handcuffing Defendant and then they
began to render medical aid. During this process they turned Defendant over on
his back. When they turned him, law enforcement observed Defendant was laying
on the firearm he had pointed at DUSMs D.B. and B.L and TFO J.G. Defendant
also had an empty holster in his pocket, and a second holster that contained a
firearm near his shoulder/torso area.

On March 3, 2024, a member of the Federal Bureau of Investigations (FBI)
Evidence Response Team (ERT) executed a search of the rear yard of 1161 Donald
Wapato Road. During the search they located a Glock 43 handgun, S/N
ADYC162, with a loaded magazine and one live round in the chamber. They also

located a Taurus G3C 9mm handgun, S/N ABE627241, with a loaded magazine

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and one live round in the chamber, a black fabric shoulder holster, and a black
plastic holster.

Defendant agrees and stipulates when the members of the United States
Marshal’s Service (USMS) Task Force encountered him at 1161 Donald Wapato
Road on March 2, 2022, the members of the task force were engaged in their
official duties as federal officers or employees.

8. The United States’ Agreements

The United States Attorney’s Office for the Eastern District of Washington
agrees that at the time of sentencing, the United States will move to dismiss Counts
3 and 5 of the Superseding Indictment filed October 11, 2023, which charge
Defendant with Assault on Federal Officers with a Deadly Weapon, in violation of
18 U.S.C. § 111(b).

The United States will move to dismiss Count 2, Count 4, and Count 6 of the
Superseding Indictment filed October 11, 2023, which charge Defendant with
Using, Carrying or Brandishing a Firearm During and in Relation to a Crime of
Violence, in a violation of 18 U.S.C. § 924(c)(1)(A)(ii).

The United States will move to dismiss Count 7 of the Superseding
Indictment filed October 11, 2023, which charges Defendant with Being a Felon in
Possession of a Firearm, in a violation of 18 U.S.C. § 922(g)(1)(924(a)(8).

The United States Attorney’s Office for the Eastern District of Washington
agrees not to bring additional charges against Defendant based on information in
its possession at the time of this Plea Agreement that arise from conduct that is
either charged in the Superseding Indictment or identified in discovery produced in
this case, unless Defendant breaches this Plea Agreement before sentencing.

9. United States Sentencing Guidelines Calculations

Defendant understands and acknowledges that the United States Sentencing

Guidelines (“U.S.S.G.” or “Guidelines”) apply and that the Court will determine

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Defendant’s advisory range at the time of sentencing, pursuant to the Guidelines.
The United States and Defendant agree to the following Guidelines calculations.

a. Base Offense Level

The United States and the Defendant agree that the base offense level for
aggravated assault is 14. U.S.S.G. § 2A2.2(a).

b. Special Offense Characteristics

The United States and the Defendant agree that Defendant’s base offense
level is increased by 3 levels because Defendant brandished a firearm. U.S.S.G.
§ 2A2.2(b)(2)(C).

The United States and the Defendant agree that Defendant’s base offense
level is increased by 2 levels because Defendant was convicted under § 111(b).
U.S.S.G. § 2A2.2(b)(7).

Cc. Acceptance of Responsibility

The United States will recommend that Defendant receive a downward
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1(a), (b), if
Defendant does the following:

i. accepts this Plea Agreement;
ii. enters a guilty plea at the first Court hearing that takes
place after the United States offers this Plea Agreement;
iil. demonstrates recognition and affirmative acceptance of
Defendant’s personal responsibility for Defendant’s
criminal conduct;
iv. provides complete and accurate information during the
sentencing process; and
Vv. does not commit any obstructive conduct.

The United States and Defendant agree that at its option and on written

notice to Defendant, the United States may elect not to recommend a reduction for

acceptance of responsibility if, prior to the imposition of sentence, Defendant is

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charged with, or convicted of, any criminal offense, or if Defendant tests positive
for any controlled substance.

d. No Other Agreements

The United States and Defendant have no other agreements regarding the
Guidelines or the application of any Guidelines enhancements, departures, or
variances. Defendant understands and acknowledges that the United States is free
to make any sentencing arguments it sees fit, including arguments arising from
Defendant’s uncharged conduct, conduct set forth in charges that will be dismissed
pursuant to this Agreement, and Defendant’s relevant conduct.

e. Criminal History

The United States and Defendant have no agreement and make no
representations about Defendant’s criminal history category, which will be
determined by the Court after the United States Probation Office prepares and
discloses a Presentence Investigative Report.

10. Incarceration

The United States will recommend a sentence of imprisonment of 84
months.

Defendant agrees to recommend a sentence of imprisonment within the
range of 63 to 78 months.

Additionally, the United States will recommend any sentence imposed for
any supervised release violations in case 1:15-CR-02031-JLR-1 run concurrent
with any sentence imposed in case 1:23-CR-02016-JLR.

11. Supervised Release

The United States and Defendant each agree to recommend 3 years of
supervised release. Defendant agrees that the Court’s decision regarding the
conditions of Defendant’s Supervised Release is final and non-appealable; that is,
even if Defendant is unhappy with the conditions of Supervised Release ordered by

the Court, that will not be a basis for Defendant to withdraw Defendant’s guilty

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plea, withdraw from this Plea Agreement, or appeal Defendant’s conviction,
sentence, or any term of Supervised Release.

The United States and Defendant agree to recommend that in addition to the
standard conditions of supervised release imposed in all cases in this District, the
Court should also impose the following conditions:

a. The United States Probation Officer may conduct, upon
reasonable suspicion, and with or without notice, a search of
Defendant’s person, residences, offices, vehicles, belongings,
and areas under Defendant’s exclusive or joint control.

b. Defendant shall participate and complete such drug testing and
drug treatment programs as the Probation Officer directs.

c. Defendant shall complete mental health evaluations and
treatment, including taking medications prescribed by the
treatment provider. Defendant shall allow reciprocal release of
information between the Probation Officer and the treatment
provider. Defendant shall contribute to the cost of treatment
according to the Defendant’s ability.

12. Criminal Fine

The United States and Defendant may make any recommendation
concerning the imposition of a criminal fine. Defendant acknowledges that the
Court’s decision regarding a fine is final and non-appealable; that is, even if
Defendant is unhappy with a fine ordered by the Court, that will not be a basis for
Defendant to withdraw Defendant’s guilty plea, withdraw from this Plea
Agreement, or appeal Defendant’s conviction, sentence, or fine.

13. Abandonment

Defendant agrees to abandon the following listed assets to the Federal

Bureau of Investigation (FBI):

PLEA AGREEMENT - 10
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- aGlock 9mm handgun bearing serial number ADYC162 with a live round in
the chamber and a loaded magazine;

- a Taurus 9mm handgun bearing serial number ABE627241, with a live
round in the chamber and a loaded magazine; and,

- two holsters

Defendant agrees to take all steps as requested by the United States and FBI
to effectuate the abandonment of the assets to FBI and hereby agrees to execute
any and all forms and pleadings necessary to effectuate such abandonment.
Defendant consents to the disposal of the assets, including destruction of the assets
and/or return of the assets to a lawful owner.

Defendant agrees to hold harmless all law enforcement agents/officers, and
the United States, its agents, and its employees from any claims whatsoever arising
in connection with the seizure and disposal of the assets listed above.

Defendant waives any right he might otherwise have had to receive notice or
a hearing with respect to any motion, pleading, order, or any other action that FBI
might take, in its sole discretion, to carry out the abandonment, disposition, and
destruction of the assets. Defendant’s waiver includes, without limitation, all
common law, statutory, and constitutional claims or challenges, on any grounds,
arising at any time from, or relating to, the seizure, abandonment, disposition, and
destruction of the assets including any such claim for attorney fees and litigation
costs.

14. Mandatory Special Penalty Assessment

Defendant agrees to pay the $100 mandatory special penalty assessment to
the Clerk of Court for the Eastern District of Washington, pursuant to 18 U.S.C.
§ 3013.

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15. Payments While Incarcerated

If Defendant lacks the financial resources to pay the monetary obligations
imposed by the Court, Defendant agrees to earn money toward these obligations by
participating in the Bureau of Prisons’ Inmate Financial Responsibility Program.

16. Additional Violations of Law Can Void Plea Agreement

The United States and Defendant agree that the United States may, at its
option and upon written notice to the Defendant, withdraw from this Plea
Agreement or modify its sentencing recommendation if, prior to the imposition of
sentence, Defendant is charged with or convicted of any criminal offense or tests
positive for any controlled substance.

17. Waiver of Appeal Rights

Defendant understands that Defendant has a limited right to appeal or

challenge Defendant’s conviction and the sentence imposed by the Court.

Defendant expressly waives all of Defendant’s rights to appeal Defendant’s
conviction and the sentence the Court imposes.

Defendant expressly waives Defendant’s right to appeal any fine, term of
supervised release, or restitution order imposed by the Court.

Defendant expressly waives the right to file any post-conviction motion
attacking Defendant’s conviction and sentence, including a motion pursuant to 28
U.S.C. § 2255, except one based on ineffective assistance of counsel arising from
information not now known by Defendant and which, in the exercise of due
diligence, Defendant could not know by the time the Court imposes sentence.

Nothing in this Plea Agreement shall preclude the United States from
opposing any post-conviction motion for a reduction of sentence or other attack
upon the conviction or sentence, including, but not limited to, writ of habeas

corpus proceedings brought pursuant to 28 U.S.C. § 2255.

PLEA AGREEMENT - 12

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18. Withdrawal or Vacatur of Defendant’s Plea
Should Defendant successfully move to withdraw from this Plea Agreement
or should Defendant’s conviction be set aside, vacated, reversed, or dismissed
under any circumstance, then:
this Plea Agreement shall become null and void;
b. the United States may prosecute Defendant on all available
charges;
C. The United States may reinstate any counts that have been

dismissed, have been superseded by the filing of another
charging instrument, or were not charged because of this Plea
Agreement; and

d. the United States may file any new charges that would

otherwise be barred by this Plea Agreement.

The decision to pursue any or all of these options is solely in the discretion
of the United States Attorney’s Office.

Defendant agrees to waive any objections, motions, and/or defenses
Defendant might have to the United States’ decisions to seek, reinstate, or reinitiate
charges if a count of conviction is withdrawn, set aside, vacated, reversed, or
dismissed, including any claim that the United States has violated Double
Jeopardy.

Defendant agrees not to raise any objections based on the passage of time,
including but not limited to, alleged violations of any statutes of limitation or any
objections based on the Speedy Trial Act or the Speedy Trial Clause of the Sixth
Amendment.

19. Integration Clause

The United States and Defendant acknowledge that this document

constitutes the entire Plea Agreement between the United States and Defendant,

PLEA AGREEMENT - 13

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and no other promises, agreements, or conditions exist between the United States
and Defendant concerning the resolution of the case.

This Plea Agreement is binding only on the United States Attorney’s Office
for the Eastern District of Washington, and cannot bind other federal, state, or local
authorities.

The United States and Defendant agree that this Agreement cannot be
modified except in a writing that is signed by the United States and Defendant.

Approvals and Signatures

Agreed and submitted on behalf of the United States Attorney’s Office for
the Eastern District of Washington.

Vanessa R. Waldref
United States Attorney

LALMEE M16 12024

Courtney R. Pratten Date
Assistant United States Attorney

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Todd M. Swensen for Date
Assistant United States Attorney

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I have read this Plea Agreement and I have carefully reviewed and discussed
every part of this Plea Agreement with my attorney. I understand the terms of this
Plea Agreement. I enter into this Plea Agreement knowingly, intelligently, and
voluntarily. I have consulted with my attorney about my rights, I understand those
rights, and I am satisfied with the representation of my attorney in this case. No
other promises or inducements have been made to me, other than those contained
in this Plea Agreement. No one has threatened or forced me in any way to enter

into this Plea Agreement. I agree to plead guilty because I am guilty.

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Leg John Yallup f Date
Defendant

I have read the Plea Agreement and have discussed the contents of the
agreement with my client. The Plea Agreement accurately and completely sets
forth the entirety of the agreement between the parties. I concur in my client’s

decision to plead guilty as set forth in the Plea Agreement. There is no legal

reason why the Court should not accept Defendant’s guilty plea.

Attorney for Defendant

PLEA AGREEMENT - 15
